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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                            IN RE GOOGLE RTB CONSUMER                       Case No. 21-cv-02155-YGR (VKD)
                                   7        PRIVACY LITIGATION
                                   8
                                                                                            ORDER RE PLAINTIFFS’ MOTION
                                   9                                                        FOR CONTEMPT AND SANCTIONS

                                  10                                                        Re: Dkt. No. 431

                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Plaintiffs move for an order finding defendant Google LLC (“Google”) in contempt and

                                  14   imposing evidentiary and monetary sanctions against Google for failure to comply with the

                                  15   Court’s prior discovery orders (Dkt. Nos. 314, 382). Dkt. No. 431. Google opposes the motion.

                                  16   Dkt. No. 448. The Court held a hearing on the motion on April 11, 2023. Dkt. No. 478. The

                                  17   motion is denied.

                                  18   I.      BACKGROUND
                                  19           Plaintiffs’ motion focuses on two passages from the Court’s prior orders dated August 26,

                                  20   2022 and December 16, 2022:

                                  21                  The Court expects Google to produce documents sufficient to show,
                                                      for each named plaintiff, what information specific to that plaintiff
                                  22                  was shared with an RTB participant and the details of such sharing.
                                                      If Google discloses information that allows an RTB participant to
                                  23                  identify an account holder based on information the participant may
                                                      have about that account holder, Google must produce records
                                  24                  showing the disclosure of that information as well. Otherwise,
                                                      plaintiffs have not shown they are entitled to discovery of all
                                  25                  information Google maintains about an account holder solely based
                                                      on Google’s internal linking of information with an account holder.
                                  26
                                       Dkt. No. 314 at 4-5.
                                  27
                                                      Plaintiffs say that Google’s production must include documents
                                  28                  sufficient to show both the explicit sharing of verticals associated
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                                                       with the named plaintiffs and any implicit sharing that facilitates ad
                                   1                   targeting. The Court agrees. Google must produce documents
                                                       sufficient to show for each named plaintiff the “verticals” data fields
                                   2                   it shared with RTB participants during the class period. In addition,
                                                       Google must produce documents sufficient to show for each named
                                   3                   plaintiff the information, if any, that it provided to RTB participants
                                                       that would permit those participants to infer information about the
                                   4                   account holder based on verticals linked with the account holder.
                                   5   Dkt. No. 382 at 5.

                                   6            Plaintiffs claim that Google violated the Court’s order in three respects. First, plaintiffs

                                   7   say that Google’s production of named plaintiffs data responsive to these orders did not include

                                   8   three data fields—user_lists, content_labels, and app_category_fatcat_id —that are within the

                                   9   scope of the Court’s prior orders. Dkt. No. 431 at 5. Second, plaintiffs say that Google

                                  10   improperly limited its responsive production to a selectively time-sampled period of six weeks,

                                  11   which was not representative of the class period. Id. at 4. Third, plaintiffs say that Google

                                  12   “intentionally stripped out” data fields that would identify the named plaintiffs whose data they
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                                  13   produced, making it difficult for plaintiffs to know which data is associated with a particular

                                  14   named plaintiff and to match later productions with earlier productions. Id. at 5.

                                  15            Google responds that plaintiffs’ motion should be denied because it seeks the production of

                                  16   information that is outside the scope of the Court’s prior orders. In addition, Google says that

                                  17   plaintiffs’ motion disguises an effort by plaintiffs to evade the Court’s expedited discovery dispute

                                  18   resolution procedures. Dkt. No. 448 at 1. Google argues that no sanctions are warranted in any

                                  19   event, as it has attempted to comply with the Court’s orders in good faith, and even sought

                                  20   clarification of one of the orders. Id. at 2.

                                  21   II.      LEGAL STANDARD
                                  22            A court has authority to sanction litigants for discovery misconduct under both the Federal

                                  23   Rules of Civil Procedure and the court’s inherent power to prevent abusive litigation practices.

                                  24   See Leon v. IDX Sys. Corp., 464 F.3d 951, 958 (9th Cir. 2006); True Health Chiropractic Inc. v.

                                  25   McKesson Corp., 2015 WL 5341592, at *6 (N.D. Cal. Sept. 12, 2015). When a party violates a

                                  26   discovery order, Rule 37(b)(2)(A) authorizes a variety of sanctions, including “prohibiting the

                                  27   disobedient party from supporting or opposing designated claims or defenses,” “striking

                                  28   pleadings,” “dismissing the action,” or “treating as contempt of court the failure to obey [an] order
                                                                                           2
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                                   1   . . . .” Fed. R. Civ. P. 37(b)(2)(A). “[O]n the menu of sanctions that a court may select from in

                                   2   applying Rule 37, preclusion of evidence is among the most severe.” True Health Chiropractic,

                                   3   2015 WL 5341592, at *6 (citing Network Appliance, Inc. v. Bluearc Corp., No. C 03–5665 MHP,

                                   4   2005 WL 1513099, at *3 (N.D. Cal. June 27, 2005) aff’d, 205 Fed. Appx. 835 (Fed. Cir. 2006)).

                                   5   Courts apply a five-factor test in the context of exclusionary sanctions to analyze “(1) the public’s

                                   6   interest in expeditious resolution of litigation; (2) the court’s need to manage its docket; (3) the

                                   7   risk of prejudice to the party seeking sanctions; (4) the public policy favoring disposition of cases

                                   8   on their merits; [and] (5) the availability of less drastic sanctions.” See, e.g., Connecticut

                                   9   Gen. Life Ins. Co. v. New Images of Beverly Hills, 482 F.3d 1091, 1096 (9th Cir. 2007).

                                  10            To obtain a contempt order as a discovery sanction, the moving party must prove by clear

                                  11   and convincing evidence that a court order provided “unequivocal notice” that certain discovery

                                  12   must be produced. Etienne v. Kaiser Found. Hosp., No. C11-02324 LB, 2012 U.S. Dist. LEXIS
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                                  13   91600, at *3 (N.D. Cal. July 2, 2012) (citing Unigard Sec. Ins. Co. v. Lakewood Eng’g & Mfg.

                                  14   Corp., 982 F.2d 363, 368 (9th Cir. 1992)); see also F.T.C. v. Affordable Media, 179 F.3d 1228,

                                  15   1239 (9th Cir. 1999) (discussing clear and convincing evidence standard); Koninklijke Philips N.V.

                                  16   v. Elec-Tech Int’l Co., No. 14-cv-02737-BLF, 2015 WL 6449399, at *2 (N.D. Cal. Oct. 26, 2015)

                                  17   (“[C]ontempt requires the existence of a specific and definite court order.”). A finding of

                                  18   contempt is improper where the violation was “based on a good faith and reasonable interpretation

                                  19   of the [order].” See In re TFT-LCD (Flat Panel) Antitrust Litig., 289 F.R.D. 548, 553 (N.D. Cal.

                                  20   2013).

                                  21            Sanctions are also available under Rule 16(f)(l), which provides that a “court may issue

                                  22   any just orders . . . if a party or its counsel . . . fails to obey a scheduling or other pretrial order.”

                                  23   Fed. R. Civ. P. 16(f)(l)(C). Rule 16 is “broadly remedial and its purpose is to encourage forceful

                                  24   judicial management.” Cato v. Fresno City, 234 F.3d 1276, 1276 (9th Cir. 2000) (citation

                                  25   omitted). A court may order sanctions under Rule 16 for violation of an order where “[d]isregard

                                  26   of the order would undermine the court’s ability to control its docket, disrupt the agreed-upon

                                  27   course of the litigation, and reward the indolent and the cavalier.” Johnson v. Mammoth

                                  28   Recreations, Inc., 975 F.2d 604, 610 (9th Cir. 1992).
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                                   1          Additionally, “discovery misconduct may be punished under the court’s ‘inherent powers’

                                   2   to manage its affairs.” Guifu Li v. A Perfect Day Franchise, Inc., 281 F.R.D. 373, 396 (N.D. Cal.

                                   3   2012) (quoting Unigard Sec. Ins. Co., 982 F.2d at 368). Sanctions under a court’s inherent

                                   4   authority are analyzed using the same test as those under Rule 37. Leon v. IDX Sys. Corp., 464

                                   5   F.3d 951, 958 (9th Cir. 2006).

                                   6   III.   DISCUSSION
                                   7          A.       Whether the Three Disputed Data Fields Are Within the Scope of the Court’s
                                                       Prior Orders
                                   8
                                              Plaintiffs’ principal argument is that the user_lists, content_labels, and
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                                       app_category_fatcat_id data fields are clearly within the scope of the Court’s prior orders and
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                                       Google should have produced them. Google points out that the Court’s orders did not specifically
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                                       identify these data fields for production, and the parties did not brief these particular data fields in
                                  12
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                                       the discovery dispute submissions that preceded the orders.1
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                                  13
                                              In their briefing on the present motion, plaintiffs explain that the user_lists field includes
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                                       signals that show when a named plaintiff sent a previous communication on a specific topic or
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                                       action, and that assignment of a user to a user list is reflected in that user’s profile, which is shared
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                                       with RTB participants. Dkt. No. 431 at 5; Dkt. No. 457 at 7. Google responds that the user_lists
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                                       field was removed from bid requests in 2018 and Google no longer has records from this data field
                                  18
                                       to produce. Dkt. No. 448 at 10. Moreover, Google explains that it neither creates nor shares any
                                  19
                                       user lists; rather, an RTB participant could create and populate these lists, which Google
                                  20
                                       maintained internally. The lists could be used to “pre-filter” the bid requests that the participant
                                  21
                                       wished to receive. Id. at 10; Dkt. No. 447-3 ¶ 5. Google explains that it did not and does not
                                  22
                                       consider the user lists field a “vertical” or other user-specific information shared through RTB and
                                  23
                                       reasonably did not believe this field was within the scope of the Court’s prior orders. Dkt. No.
                                  24
                                       448 at 10-11.
                                  25

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                                         Plaintiffs did refer to several “user_lists” fields in Dkt. No. 367 at 2 (the Calhoun submission).
                                  27   In the same submission, Google took the position that such fields related to different ad products,
                                       not RTB. Id. at 4. The Court ultimately concluded that plaintiffs had not adequately supported
                                  28   their demands for these and other data fields. See Dkt. No. 382 at 3-4.

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                                   1          Similarly, plaintiffs explain that the content_labels field includes categories that describe

                                   2   the content of the publisher’s web page being visited by a user and that this field is also used to

                                   3   target or filter bid requests. Dkt. No. 431 at 5. Plaintiffs argue that “any information in the

                                   4   possession of Google reflecting websites visited by specific account holders constitutes data that

                                   5   could allow RTB participants to infer information about those account holders.” Dkt. No. 457 at

                                   6   7-8. Google responds that content labels describe websites and are not user-specific information.

                                   7   Dkt. No. 448 at 11. Unlike user lists, content labels allow an RTB participant to “pre-filter”

                                   8   categories of websites (not users) for which the participant does not want to receive bid requests.

                                   9   Id. at 11; Dkt. No. 447-3 ¶¶ 6-7.2 Google explains that it does not consider the content_labels

                                  10   field a “vertical” or other user-specific information shared through RTB and reasonably did not

                                  11   believe this field was within the scope of the Court’s prior orders. Dkt. No. 448 at 11.

                                  12          Finally, plaintiffs say that the app_category_fatcat_id field provides information about the
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                                  13   “app equivalent of verticals for URLs including in RTB bid requests.” Dkt. No. 431 at 5. At the

                                  14   hearing, plaintiffs explained further that this data field concerns bid requests for in-app

                                  15   advertising. Dkt. No. 478. Google explains that the app_category_fatcat_id field was removed

                                  16   from bid requests in February 2020, and Google no longer has records from this data field to

                                  17   produce. Dkt. No. 448 at 11. Moreover, it explains that this field contains information

                                  18   categorizing applications in the Google Play Store and the Apple App Store, but does not contain

                                  19   any information specific to a user. Id. at 11. Google argues that it does not consider the

                                  20   app_category_fatcat_id field a “vertical” or other user-specific information shared through RTB

                                  21   and reasonably did not believe this field was within the scope of the Court’s prior orders. Id.

                                  22          Having considered the parties’ briefing and the arguments at the hearing, the Court agrees

                                  23   with Google that neither of the Court’s prior orders clearly requires Google to produce these three

                                  24   data fields. While these data fields may contain information relevant to a claim or defense and

                                  25   may be responsive to a document request—an issue the Court does not address here—Google did

                                  26   not clearly disobey a Court order to produce them. Sanctions would be particularly inappropriate

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                                  28     The parties disagree about whether the content labels are still used for ad targeting or pre-
                                       filtering.
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                                   1   nothing in the Court’s prior orders requires Google to use plaintiffs’ preferred method or data

                                   2   fields for correlating these document productions. Id.

                                   3          The Court agrees with Google that its prior orders did not specify how Google should

                                   4   produce data so that earlier productions can easily be matched with later productions. However, to

                                   5   the extent Google’s productions from multiple different data sources cannot be easily matched up

                                   6   based on the query ID, as plaintiffs contend in their reply, Google’s reliance solely on the query

                                   7   ID needlessly burdens plaintiffs.

                                   8          Accordingly, while Google’s most recent data productions did not violate any directive in

                                   9   the Court’s prior orders, Google must take care that all of its productions of named plaintiffs data

                                  10   can be easily correlated, and it must include the fields necessary to accomplish that result. During

                                  11   the hearing, Google acknowledged that it could include the Google Account ID, Google User ID,

                                  12   and “joining keys” without undue burden, and the Court expects that it will do so, including
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                                  13   remedying its prior productions that omit this information.

                                  14   IV.    CONCLUSION
                                  15          For the reasons explained above, the Court denies plaintiffs’ motion for an order of

                                  16   contempt and for evidentiary and monetary sanctions against Google.

                                  17          IT IS SO ORDERED.

                                  18   Dated: April 14, 2023

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                                                                                                     VIRGINIA K. DEMARCHI
                                  21                                                                 United States Magistrate Judge
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